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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
                                                          1
ENERGY FUTURE HOLDINGS CORP., et al.,                             )   Case No. 14-10979 (CSS)
                                                                  )
                 Debtors.                                         )   (Jointly Administered)
                                                                  )
                                                                  )   Re: D.I. _______
                                                                  )

    ORDER SHORTENING NOTICE PERIOD IN CONNECTION WITH MOTION FOR
    ENTRY OF AN ORDER DETERMINING APPLICABILITY OF THE AUTOMATIC
     STAY TO NON-BANKRUPTCY LITIGATION INVOLVING CERTAIN OF THE
       DEBTORS AND FIXING HEARING DATE AND OBJECTION DEADLINE

         Upon consideration of the motion (the “Motion to Shorten”) of Sierra Club for entry of an
                                                                                            2
order shortening the notice period in connection with the Underlying Motion and fixing a

hearing date and objection deadline for the Underlying Motion; and it appearing that sufficient

notice of the Motion to Shorten has been given; and it appearing that the relief requested by the

Motion to Shorten is necessary to avoid irreparable harm to Sierra Club; and good cause have

been shown, it is hereby

         ORDERED that the Motion to Shorten is GRANTED; and it is further

         ORDERED that a hearing on the Underlying Motion is scheduled for July 18, 2014, at

9:30 a.m. (Eastern Time); and it is further




1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ services address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claim and noticing agent at http://www.efhcaseinfo.com.
2
         All capitalized terms not herein defined shall have the meanings ascribed to them in the Motion to Shorten.
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          ORDERED that any objections or responses to the Underlying Motion must be filed with

the Clerk of the Bankruptcy Court for the District of Delaware no later than noon on July 16,

2014, and it is further

          ORDERED that immediately after the entry of this Order, counsel for Sierra Club shall

serve a copy of this Order and notice of the Underlying Motion on the parties specified in the

Underlying Motion; and it is further

          ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.



Dated: July , 2014
       Wilmington, Delaware
                                              Honorable Christopher S. Sontchi
                                              United States Bankruptcy Court Judge




4827-9919-8492, v. 1
